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      THE REGENTS OF THE UNIVERSITY OF CALIFORNIA
11
12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
15     THE REGENTS OF THE                      Case No.
       UNIVERSITY OF CALIFORNIA,
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                   Plaintiff,                  COMPLAINT FOR
17                                             PATENT INFRINGEMENT
             vs.
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       GENERAL ELECTRIC                        DEMAND FOR JURY TRIAL
19     COMPANY,
20                 Defendant.
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                                     COMPLAINT
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 1          Plaintiff The Regents of the University of California (“The Regents”) alleges
 2    as follows for its Complaint against Defendant General Electric Company
 3    (“Defendant”):
 4                                    INTRODUCTION
 5          1.    This is an action for patent infringement arising under 35 U.S.C. § 1 et
 6    seq. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and
 7    1338(a).
 8          2.    This case is about protecting the reinvention of the light bulb by a
 9    Nobel laureate-led team at the University of California, Santa Barbara
10    (“UC Santa Barbara”), the theft of that technology by unlicensed foreign
11    manufacturers, and the Defendant’s trafficking in infringing imports without proper
12    compensation to The Regents.
13          3.    Specifically, at issue is the Defendant’s infringement of The Regents’
14    United States Patents 7,781,789 (“’789 patent”), 9,240,529 (“’529 patent”),
15    9,859,464 (“’464 patent”), and 10,217,916 (“’916 patent”) (collectively, the
16    “Asserted Patents”), which are fundamental to a new generation of light bulbs
17    commonly referred to as “filament” LED light bulbs (illustrated below).
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28           Filament LED Light Bulb                          Filament LED
                                              -1-
                                        COMPLAINT
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 1          4.     The Regents brings this Complaint as part of its campaign to spearhead
 2    a broader, national response to the existential threat to university technology
 3    transfer that is posed by the widespread disregard for university patent rights that is
 4    prevalent today.
 5          5.     Universities and research institutions across the country have
 6    established technology transfer offices to identify, protect, and license the
 7    intellectual property developed by their faculty, students, and other researchers.
 8    These offices sit at the interface between academia and the private sector. They
 9    leverage an interdisciplinary collection of skills to transform the fruits of a
10    university’s research into commercial products and services by establishing and
11    nurturing relationships between the university, where the research is conducted, and
12    entities in the private sector, which manufacture and sell products embodying the
13    university’s research. While as much an art as it is a science, the success of any
14    technology transfer program is predicated on the private sector respecting the
15    university’s intellectual property rights.
16          6.     However, Defendant and others routinely take unfair advantage of
17    academic openness. They exploit university intellectual property with impunity and
18    then profit from selling infringing goods. By flooding the market with
19    unauthorized products, they cripple the ability of university technology transfer
20    programs to effectively license universities’ intellectual property. This undermines
21    universities’ rightful opportunity to share in the revenue generated through
22    commercialization of their intellectual property – revenue that would support
23    further research, education, and development of cutting-edge technologies and new
24    scientific insights that benefit the public.
25          7.     This case is a classic example of that very scenario. The Regents has
26    expended and continues to expend significant resources to engineer, research,
27    develop, and license the inventions that are the subject of this case, only to see
28    those inventions stolen by unlicensed foreign manufacturers, imported into the
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                                           COMPLAINT
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 1    U.S., and sold to an unwitting consuming public by Defendant.
 2          8.     Filament LED light bulbs may include a variety of filament LED
 3    configurations while still infringing the Asserted Patents, such as, without
 4    limitation, different amounts of light output (known as lumens), different shapes of
 5    filaments (e.g., spiral instead of linear), different numbers of filaments, and
 6    different lengths of filaments. All such configurations are included in the term
 7    “filament LED” as used in this Complaint.
 8          9.     The Regents has obtained and analyzed samples of filament LED light
 9    bulbs across a variety of sources, including but not limited to the Defendant. All
10    filament LED light bulbs The Regents has analyzed to date infringe at least one
11    claim of the Asserted Patents. Accordingly, The Regents is informed and believes
12    that filament LEDs have been commoditized by mass unlicensed manufacture and
13    that substantially all filament LED light bulbs from unlicensed sources infringe at
14    least one claim of the Asserted Patents.
15          10.    The Regents brings this Complaint seeking just compensation for the
16    use of the inventions claimed in the Asserted Patents consistent with The Regents’
17    duty to serve as trustee for the people of the State of California and as steward of
18    the University of California in fulfillment of its educational, research, and public
19    service missions in the best interests of the people of the State of California.
20                BACKGROUND OF FILAMENT LED LIGHT BULBS
21          11.    The invention of the incandescent light bulb more than a century ago
22    so profoundly changed the world that the light bulb became the very icon of
23    invention. Reflecting Thomas Edison’s enduring fame for inventing the light bulb,
24    many products on the market today that infringe the Asserted Patents are called
25    “Edison” or “vintage” LED light bulbs because they resemble Edison’s iconic light
26    bulbs with glowing filaments visible inside glass bulbs.
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28    Asterisks indicate allegations made upon information and belief.
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                                          COMPLAINT
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 1          12.    The patented filament LED technology invented at UC Santa Barbara
 2    enables light bulbs that replace traditional incandescent light bulbs and, in contrast,
 3    use a tiny fraction of the energy, don’t get hot, break less easily, and last up to ten
 4    or twenty years. Further, unlike compact fluorescent light bulb substitutes for
 5    incandescent light bulbs, the patented filament LED technology does not contain
 6    the toxic material mercury.*
 7          13.    Over the life of a filament LED light bulb, the inventions of the
 8    Asserted Patents yield savings in energy and replacement costs, relative to
 9    comparable incandescent light bulbs, that far exceed the cost of the filament LED
10    light bulb itself. For example, the web page of Defendant’s “GE Vintage 60W
11    Replacement LED Light Bulbs Amber Edison Style ST19 Medium Base”1 touts
12    $89 in lifetime energy savings and versus a 60-watt incandescent light bulb and a
13    lifetime over 13 years.
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        See: https://www.gelighting.com/led-bulbs/e26/ge-led-vintage-60w-replacement-
28    st19-1 (visited on December 20, 2019).
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 2          14.    Moreover, compared with other LED light bulb designs, filament LED
 3    light bulbs cost less to manufacture and are more energy efficient and aesthetically
 4    pleasing due to the advantages conferred by the inventions of the Asserted Patents.*
 5          15.    The United States retail market has demonstrated tremendous
 6    customer demand for the aesthetic, economic, and environmental benefits conferred
 7    by the inventions of the Asserted Patents: while filament LED light bulbs only
 8    became widely available in the United States in about 2014 or 2015, sales of
 9    filament LED light bulbs are expected to exceed $1,000,000,000 in the United
10    States in 2019.*
11          16.    Unfortunately, the filament LED light bulb industry, including
12    Defendant, has stolen The Regents’ patented technology with utter disregard for
13    The Regents’ patent rights. Substantially all of the infringing filament LED light
14    bulbs The Regents has found on the retail market in the United States reflect China
15    as the country of origin.
16          17.    As a major corporation in the United States, the Defendant has the
17    means and responsibility to ensure the compliance of its supply chain with
18    applicable laws. However, the Defendant has not upheld that responsibility with
19    respect to filament LED light bulbs and instead has provided an illegal outlet for
20    infringing products from unlicensed foreign sources, depriving The Regents of
21    compensation to which it is lawfully entitled for the use of the inventions claimed
22    in the Asserted Patents.
23                                          PARTIES
24          18.    The Regents is a California constitutional corporation with a principal
25    place of business in Oakland, California, and is the owner of all substantial rights in
26    the Asserted Patents. The Regents is charged with the duty of administering the
27    University of California as a public trust, pursuant to Article IX Section 9 of the
28    California Constitution. UC Santa Barbara is an internationally recognized
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                                         COMPLAINT
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 1    pioneering research institution located in the Central District of California and is
 2    one of the ten campuses that make up the University of California System. All
 3    University of California actions are done in The Regents’ name, including owning
 4    property such as patents and other intellectual property and entering into contracts.
 5          19.    The Defendant is a New York corporation with corporate headquarters
 6    in Boston, Massachusetts, and with numerous businesses and physical facilities
 7    located in the Central District of California. The Defendant is registered to do
 8    business in California and has appointed as its registered agent for service of
 9    process CT Corporation System at 818 Seventh Street, Suite 930, Los Angeles,
10    California 90017.
11                              JURISDICTION AND VENUE
12          20.    As alleged in Paragraph 1 pursuant to Central District of California
13    L.R. 8-1, this Court has original and exclusive subject matter jurisdiction pursuant
14    to 28 U.S.C. §§ 1331 and 1338(a).
15          21.    This Court has personal jurisdiction over Defendant because its
16    contacts with the Central District of California are significant and pervasive and
17    directly give rise to part of this dispute. The Defendant has numerous regular and
18    established businesses and places of business located throughout the Central
19    District of California.
20          22.    Venue is proper in the Central District of California under 28 U.S.C.
21    § 1400(b) because the Defendant has engaged in infringement of the Asserted
22    Patents, and has numerous regular and established places of business throughout the
23    Central District of California.
24             UC SANTA BARBARA’S WORLD CLASS LED RESEARCH
25          23.    UC Santa Barbara proudly counts among its current and late faculty
26    six Nobel Laureates, one Fields Medal recipient, twenty-nine members of the
27    National Academy of Sciences, twenty-seven members of the National Academy of
28    Engineering, and thirty-one members of the Academy of Arts and Sciences.
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 1    UC Santa Barbara receives over $180,000,000 per year to support its research
 2    efforts from both public and private sources.
 3          24.    UC Santa Barbara also is the home of a world-renowned Materials
 4    Department that is dedicated to solving tomorrow’s problems in electronic and
 5    photonic materials, inorganic materials, macromolecular and biomolecular
 6    materials, and structural materials. UC Santa Barbara’s Materials Department has
 7    consistently ranked in the top two in the nation in various studies, including by the
 8    National Research Council and U.S. News & World Report. In addition, according
 9    to Thomson Reuters, Materials research at UC Santa Barbara ranks second in the
10    world in terms of citation impact—a method for comparing the quality of research.
11    The citing of a scholar’s research (as represented by a published scientific paper) in
12    another researcher’s published work is viewed as a strong indication of the
13    importance of the original work and the influence it might have.
14          25.    UC Santa Barbara’s Materials Department has nine separate affiliated
15    research centers, including the California NanoSystems Institute, the Center for
16    Multifunctional Materials and Structures, the Center for Stem Cell Biology and
17    Engineering, the Dow Materials Institute, the Institute for Collaborative
18    Biotechnologies, the Institute for Energy Efficiency, the Materials Research
19    Laboratory, the Mitsubishi Chemical Center for Advanced Materials, and the Solid
20    State Lighting and Energy Electronics Center (“SSLEEC”).
21          26.    SSLEEC is the home of nearly two decades of visionary research into
22    solid state lighting and power switching. Recognizing the need for energy-efficient
23    lighting technologies, The Regents, along with industry partners, has funded
24    groundbreaking research at SSLEEC and its predecessor entities that have led to
25    more energy-efficient solutions for lighting, cell phones, computers, appliances,
26    automobiles, industrial equipment, and power distribution systems. SSLEEC
27    research helps solve some of the world’s most critical problems by meaningfully
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 1    reducing energy consumption and waste associated with light bulbs and other
 2    necessities of daily life.
 3           27.    SSLEEC consists of approximately a dozen faculty members, thirty
 4    graduate students, and twenty staff, including internationally recognized researchers
 5    and visiting scholars. The faculty and staff of SSLEEC and its predecessors have
 6    published thousands of peer-reviewed publications and have amassed a portfolio of
 7    over 250 issued patents. Since its inception, SSLEEC has conferred approximately
 8    100 Ph.D. degrees.
 9           28.    Professor Shuji Nakamura is a tenured professor at UC Santa Barbara,
10    a co-Director of SSLEEC, and an inventor of each of the Asserted Patents. In 2014,
11    Professor Nakamura was honored as the co-recipient of the Nobel Prize in Physics.
12    He began researching high-efficiency blue LEDs (which are necessary to create
13    white light with LEDs) in the late 1980’s, and his former employer began selling
14    white LEDs enabled by his invention in the mid-1990’s. In addition to the 2014
15    Nobel Prize in Physics, Professor Nakamura has received numerous other awards
16    for his work in the field of LED lighting, including the Nishina Memorial Award
17    (1996), the Materials Research Society Medal Award (1997), the Institute of
18    Electrical and Electronics Engineers Jack A. Morton Award (1998), the British
19    Rank Prize (1998), the Benjamin Franklin Medal Award (2002), the Millennium
20    Technology Prize (2006), the Czochralski Award (2007), the Prince of Asturias
21    Award for Technical Scientific Research (2008), The Harvey Award (2009), and
22    the Technology & Engineering Emmy Award (2012) awarded by The National
23    Academy of Television Arts & Sciences (NATAS). He was elected as a fellow of
24    the U.S. National Academy of Engineering in 2003. He received the 2014 Order of
25    Culture Award in Japan and was inducted into the National Inventors Hall of Fame
26    in 2015. That same year, Professor Nakamura received the Charles Stark Draper
27    Prize for Engineering and the Global Energy Prize in Russia. In July 2016, he was
28    elected to Academia Sinica, Taiwan’s preeminent research institution. Professor
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                                        COMPLAINT
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 1     Nakamura has been a professor at UC Santa Barbara since 2000 and is an inventor
 2     of more than 200 United States patents in addition to over 175 Japanese patents. He
 3     has published over 550 papers in his field.
 4           29.    Professor Steven DenBaars is a tenured professor at UC Santa Barbara,
 5     a co-Director of SSLEEC, and an inventor of each of the Asserted Patents.
 6     Professor DenBaars is The Mitsubishi Chemical Professor in Solid State Lighting
 7     & Display at UC Santa Barbara. Prior to UC Santa Barbara, he was an engineer at
 8     Hewlett-Packard Optoelectronics, where he contributed to the growth and
 9     fabrication of visible LEDs, focusing specifically on high brightness red LEDs. He
10     joined UC Santa Barbara in 1991 and helped pioneer the field of solid-state
11     lighting, including the first United States university demonstration of a Blue
12     Gallium Nitride laser diode. Professor DenBaars is the recipient of the National
13     Scientist Foundation Young Investigator Award (1994), the Institute of Electrical
14     and Electronics Engineering Fellow Award (2005) and the IEEE Aron Kressel
15     Award (2010). Professor DenBaars is a fellow of the National Academy of
16     Engineering (NAE) and the National Academy of Inventors (NAI). He has
17     published over 800 papers and is an inventor of over 175 patents.
18           30.    Professor James Speck co-founded SSLEEC with Professors Shuji
19     Nakamura and Steven DenBaars and is an inventor of one of the Asserted Patents.
20     Professor Speck has been a member of the UC Santa Barbara faculty since 1990.
21     He holds the Seoul Semiconductor Chair in Solid State Lighting at UC Santa
22     Barbara. Professor Speck is a member of the Materials Research Society, the
23     American Physical Society, and the Microscopy Society of America. Professor
24     Speck received the Quantum Device Award from the International Symposium on
25     Compound Semiconductors in 2007, was named an inaugural Materials Research
26     Society Fellow in 2008, and received the Japanese Journal of Applied Physics Best
27     Paper Award in 2008. In 2009, he became an American Physical Society Fellow. In
28     2010, he received the IEEE Photonics Society Aron Kressel Award for his work on
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 1     nonpolar and semipolar Gallium Nitride-based materials and devices. Professor
 2     Speck has authored over 600 papers and is an inventor of over 100 patents.
 3              31.   Research at SSLEEC and its predecessor entities has resulted in major
 4     technological breakthroughs in the field of solid state lighting. This research has
 5     also led to numerous successful startup companies that have created hundreds of
 6     jobs.
 7              32.   For example, in 2007, researchers at SSLEEC’s predecessor fabricated
 8     a gallium nitride-based LED with the highest efficiency and output power ever
 9     reported at the time. They achieved this feat by developing an LED based on non-
10     polar gallium nitride, which has a crystal structure arranged in the m-plane, rather
11     than the conventional c-plane gallium nitride LEDs known at the time. These non-
12     polar gallium nitride LEDs were more efficient and able to handle higher currents
13     than anything available at the time.
14              33.   As another example, in 2012, researchers at SSLEEC’s predecessor
15     achieved the world’s first violet non-polar vertical-cavity surface-emitting laser
16     (“VCSEL”), which was based on m-plane gallium nitride semiconductors. These
17     VCSELs were able to operate at room temperature and provide high optical gain,
18     which increases optical efficiency. This breakthrough also could result in greatly
19     reduced manufacturing costs, to be used in a variety of applications including
20     lighting, displays, sensors, and any technology that requires energy efficiency and a
21     small form-factor.
22              34.   Additionally, in 2013, SSLEEC researchers, including Professor
23     DenBaars, developed guidelines to make it possible to optimize phosphors—a key
24     component in white LED lighting—allowing for brighter, more efficient lights.
25     This breakthrough put high-efficiency, high-brightness, solid-state lighting on a fast
26     track.
27              35.   The filament LED technology covered by the Asserted Patents is
28     another example of the results of SSLEEC’s groundbreaking research. The Asserted
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 1     Patents cover some of the important innovations of Professors Nakamura,
 2     DenBaars, and Speck, including those that use transparent LED structures and
 3     packaging to enable filament LED light bulbs.
 4                                    ASSERTED PATENTS
 5           36.    On August 24, 2010, the United States Patent and Trademark Office
 6     duly and properly issued the ’789 patent, which is entitled “Transparent Mirrorless
 7     Light Emitting Diode”. The Regents owns by assignment all rights, title, and
 8     interest in the ’789 patent. A true and correct copy of the ’789 patent is attached as
 9     Exhibit A to this Complaint.
10           37.    On January 19, 2016, the United States Patent and Trademark Office
11     duly and properly issued the ’529 patent, which is entitled “Textured Phosphor
12     Conversion Layer Light Emitting Diode”. The Regents owns by assignment all
13     rights, title, and interest in the ’529 patent. A true and correct copy of the ’529
14     patent is attached as Exhibit B to this Complaint.
15           38.    On January 2, 2018, the United States Patent and Trademark Office
16     duly and properly issued the ’464 patent, which is entitled “Light Emitting Diode
17     With Light Extracted From Front And Back Sides Of A Lead Frame”. The Regents
18     owns by assignment all rights, title, and interest in the ’464 patent. A true and
19     correct copy of the ’464 patent is attached as Exhibit C to this Complaint.
20           39.    On February 26, 2019, the United States Patent and Trademark Office
21     duly and properly issued the ’916 patent, which is entitled “Transparent Light
22     Emitting Diodes”. The Regents owns by assignment all rights, title, and interest in
23     the ’916 patent. A true and correct copy of the ’916 patent is attached as Exhibit D
24     to this Complaint.
25                                    ACCUSED PRODUCTS
26           40.    Subject to discovery and analysis, the light bulbs in Defendant’s
27     “Vintage LED bulbs” product category listed at https://www.gelighting.com/led-
28     bulbs/vintage-light-bulbs (visited on December 20, 2019) and every other product
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                                           COMPLAINT
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 1     that includes a filament LED component not more than colorably different from the
 2     filament LED components in the light bulbs in the “Vintage LED bulbs” product
 3     category (collectively, the “Accused Products”), meets each and every limitation of
 4     at least one claim of each of the Asserted Patents, literally or by equivalents.*
 5            41.      The Regents needs discovery from the Defendant to identify all of the
 6     Accused Products that the Defendant has made, used, offered to sell, sold, or
 7     imported into the United States and for which The Regents will seek discovery and
 8     relief in this case.
 9                     CLAIM I: INFRINGEMENT OF THE ’789 PATENT
10            42.      The Regents repeats and realleges the allegations of the foregoing
11     Paragraphs 1 through 41 as if fully set forth herein.
12            43.      Defendant has infringed at least one claim of the ’789 patent under 35
13     U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of equivalents, in
14     connection with making, using, offering to sell, selling, and/or importing into the
15     United States the Accused Products.
16            44.      Subject to receiving discovery from Defendant regarding all of the
17     Accused Products it has made, used, offered to sell, sold, or imported into the
18     United States, The Regents will disclose its contentions regarding the claims of the
19     ’789 patent that are infringed and the Accused Products for which The Regents
20     seeks relief.
21            45.      Defendant’s infringement of the ’789 patent has caused and will
22     continue to cause The Regents substantial monetary harm, for which The Regents is
23     entitled to receive compensatory damages in an amount to be determined at trial,
24     but in no event less than a reasonable royalty.
25                     CLAIM II: INFRINGEMENT OF THE ’529 PATENT
26            46.      The Regents repeats and realleges the allegations of the foregoing
27     Paragraphs 1 through 45 as if fully set forth herein.
28            47.      Defendant has infringed at least one claim of the ’529 patent under 35
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 1     U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of equivalents, in
 2     connection with making, using, offering to sell, selling, and/or importing into the
 3     United States the Accused Products.
 4           48.       Subject to receiving discovery from Defendant regarding all of the
 5     Accused Products it has made, used, offered to sell, sold, or imported into the
 6     United States, The Regents will disclose its contentions regarding the claims of the
 7     ’529 patent that are infringed and the Accused Products for which The Regents
 8     seeks relief.
 9           49.       Defendant’s infringement of the ’529 patent has caused and will
10     continue to cause The Regents substantial monetary harm, for which The Regents is
11     entitled to receive compensatory damages in an amount to be determined at trial,
12     but in no event less than a reasonable royalty.
13                     CLAIM III: INFRINGEMENT OF THE ’464 PATENT
14           50.       The Regents repeats and realleges the allegations of the foregoing
15     Paragraphs 1 through 49 as if fully set forth herein.
16           51.       Defendant has infringed at least one claim of the ’464 patent under 35
17     U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of equivalents, in
18     connection with making, using, offering to sell, selling, and/or importing into the
19     United States the Accused Products.
20           52.       Subject to receiving discovery from Defendant regarding all of the
21     Accused Products it has made, used, offered to sell, sold, or imported into the
22     United States, The Regents will disclose its contentions regarding the claims of the
23     ’464 patent that are infringed and the Accused Products for which The Regents
24     seeks relief.
25           53.       Defendant’s infringement of the ’464 patent has caused and will
26     continue to cause The Regents substantial monetary harm, for which The Regents is
27     entitled to receive compensatory damages in an amount to be determined at trial,
28     but in no event less than a reasonable royalty.
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 1                     CLAIM IV: INFRINGEMENT OF THE ’916 PATENT
 2           54.       The Regents repeats and realleges the allegations of the foregoing
 3     Paragraphs 1 through 53 as if fully set forth herein.
 4           55.       Defendant has infringed at least one claim of the ’916 patent under 35
 5     U.S.C. §§ 271(a) and/or 271(g), literally and/or under the doctrine of equivalents, in
 6     connection with making, using, offering to sell, selling, and/or importing into the
 7     United States the Accused Products.
 8           56.       Subject to receiving discovery from the Defendant regarding all of the
 9     Accused Products it has made, used, offered to sell, sold, or imported into the
10     United States, The Regents will disclose its contentions regarding the claims of the
11     ’916 patent that are infringed and the Accused Products for which The Regents
12     seeks relief.
13           57.       Defendant’s infringement of the ’916 patent has caused and will
14     continue to cause The Regents substantial monetary harm, for which The Regents is
15     entitled to receive compensatory damages in an amount to be determined at trial,
16     but in no event less than a reasonable royalty.
17                                     PRAYER FOR RELIEF
18           WHEREFORE, The Regents respectfully requests the Court to enter
19     judgment in favor of The Regents and against Defendant as to all claims asserted
20     herein as follows:
21           A.        Granting a judgment that Defendant has infringed the Asserted Patents
22     in violation of 35 U.S.C. §§ 271(a) and/or 271(g);
23           B.        Ordering Defendant to pay to The Regents damages adequate to
24     compensate for the infringement, but in no event less than a reasonable royalty for
25     the use made of the patented inventions by Defendant, together with pre-judgment
26     and post-judgment interest and costs as fixed by the Court, in accordance with 35
27     U.S.C. § 284; and
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 1           C.     Granting The Regents such other and further relief as this Court may
 2     deem just and proper.
 3                                      JURY DEMAND
 4           Pursuant to Federal Rule of Civil Procedure 38 and Central District of
 5     California L.R. 38-1, The Regents demands a trial by jury on all issues so triable.
 6
 7      Dated: December 20, 2019            NIXON PEABODY LLP
 8
 9                                          By: /s/ Shawn G. Hansen
                                               Shawn G. Hansen
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                                                Attorneys for Plaintiff
11                                              THE REGENTS OF THE
                                                UNIVERSITY OF CALIFORNIA
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                                          COMPLAINT
